                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

EDMUND ZAGORSKI,                                  )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )      Case No. 3:18-cv-01035
                                                  )
BILL HASLAM, et al.,                              )      JUDGE TRAUGER
                                                  )
       Defendants                                 )

                               MEMORANDUM AND ORDER

       This action was initiated on October 10, 2018, by the plaintiff, Edmund Zagorski, who

alleged four causes of action arising from the Tennessee Department of Correction’s (TDOC’s)

denial of his request to be executed by electrocution as provided by Tennessee Code Annotated

§ 40-23-114, including an alleged violation of the Ex Post Facto Clause of the Constitution. The

essence of the plaintiff’s Complaint was that the TDOC was refusing his request to die by

electrocution and was, instead, intent on proceeding with execution by a form of lethal injection

that allegedly increased the punishment he would experience beyond that imposed at the time he

was sentenced. On October 11, the day the plaintiff was scheduled to be executed, the court

found that there were sufficiently serious questions about the merits of the plaintiff’s claims to

warrant an injunction against the defendants’ proceeding with the plaintiff’s execution by lethal

injection. (Doc. No. 10.) In a Motion to Dismiss filed yesterday afternoon, the defendants

informed the court that, rather than appeal this court’s injunction, they will honor the plaintiff’s

request pursuant to state law to proceed with execution by electrocution in lieu of lethal

injection. (Doc. No. 12 at 4.) The court will consider the defendants’ motion in due course.

       In the meantime, however, proposed intervenors David Earl Miller, Nicholas Todd




     Case 3:18-cv-01035 Document 13 Filed 10/23/18 Page 1 of 4 PageID #: 442
Sutton, Stephen Michael West, and Terry Lynn King, all fellow inmates of the plaintiff on death

row, filed a Motion to Intervene in the plaintiff’s lawsuit. (Doc. No. 11.)          The would-be

intervenors, hereinafter the “Miller group,” assert a right to intervene pursuant to Federal Rule of

Civil Procedure 24(a). That provision requires the court to permit intervention by anyone who,

among other requirements, has “an interest relating to the property or transaction that is the

subject of the action.” Fed. R. Civ. P. 24(a)(2). But this action does not involve any property or

transaction between the parties. The Miller group’s alleged “direct and personal interest in

vindicating the right they share with Mr. Zagorski” (Doc. No. 11 at 9) amounts simply to an

allegation of a shared claim.        An assertion of a shared claim invokes review under the

“Permissive Intervention” section of Rule 24, pursuant to which “the court may permit”

intervention by anyone who “has a claim or defense that shares with the main action a common

question of law or fact.”

        In light of the TDOC’s decision to honor the plaintiff’s choice to die by electrocution,

there is no reason to believe that it would not do the same for the Miller group, thus obviating

any need for them to assert ex post facto claims regarding the state’s current lethal injection

method. The Miller group does not allege that any of its members has invoked his statutory right

to choose electrocution and been denied, which was the basis of the plaintiff’s lawsuit. Rather,

the true core of the litigation the Miller group proposes—as suggested by their motion and fully

evidenced by their Proposed Complaint in Intervention—is a challenge to the constitutionality of

electrocution itself—a wholly separate claim not at issue in the current litigation. (See Doc. No.

11 at 11; Doc. No. 11-1 at 11–20.) Accordingly, the Miller group does not actually share any

substantial claim with the plaintiff that is at issue in this case.

        Moreover, regardless of whether the court reviews a motion to intervene under Rule 24


                                                   -2-

    Case 3:18-cv-01035 Document 13 Filed 10/23/18 Page 2 of 4 PageID #: 443
(a) or (b), the following factors are relevant to whether the motion should be granted:

       (1) the point to which the suit has progressed; (2) the purpose for which
       intervention is sought; (3) the length of time preceding the application during
       which the proposed intervenors knew or should have known of their interest in the
       case; (4) the prejudice to the original parties due to the proposed intervenors’
       failure to promptly intervene after they knew or reasonably should have known of
       their interest in the case; and (5) the existence of unusual circumstances militating
       against or in favor of intervention.
Stupak-Thrall v. Glickman, 226 F.3d 467, 473 (6th Cir. 2000) (quoting Jansen v. City of

Cincinnati, 904 F.2d 336, 340 (6th Cir. 1990)).

       The court finds that there are unusual circumstances in this instance that militate against

intervention. Specifically, the court takes judicial notice that three of the Miller group—David

Earl Miller, Nicholas Todd Sutton, and Stephen Michael West—were recently plaintiffs in a

separate lawsuit filed in this court under 42 U.S.C. § 1983, in which they asserted facial and as-

applied challenges to Tennessee’s current lethal injection protocol. Finding that the gravamen of

that case was already being litigated in parallel litigation initiated earlier in state court, the

Honorable William L. Campbell, Jr. of this court granted the motion of the defendants in that

case to stay the case, pursuant to Colorado River Water Conservation Dist. v. United States, 424

U.S. 800, 817 (1976), on October 12, 2018. Memorandum and Order, Miller et al. v. Parker et

al., No. 3:18-cv-00781 (M.D. Tenn. Oct. 12, 2018). Rather than including any ex post facto

claim about the lethal injection protocol or any claims about electrocution in their complaint in

that case, or seeking to add them later, the Miller group filed a Notice of Voluntary Dismissal in

that case yesterday, only to file their Motion to Intervene (along with Terry Lynn King) in this

case hours later. Notice, id. (M.D. Tenn. Oct. 22, 2018.) This near-simultaneous abandonment

of an execution-related Section 1983 action before one judge and attempt to join an execution-

related Section 1983 action pending before another judge strongly suggests the sort of blatant



                                               -3-

    Case 3:18-cv-01035 Document 13 Filed 10/23/18 Page 3 of 4 PageID #: 444
judge-shopping by the Miller group that the court cannot condone by granting the pending

motion. See Tennessee v. Gibbons, No. 3:16-CV-00718, 2017 WL 4535947, at *4 (M.D. Tenn.

Oct. 10, 2017) (“‘[t]he practice of judge-shopping raises serious questions of professional ethics

and undermines trust in the court’s impartiality,’ and . . . ‘some consequence should follow’ for

those who engage in the practice”) (Crenshaw, C.J., quoting Landau v. Virdian Energy PA, LLC,

No. 16-2383, 2017 WL 3581323, at *3 (E.D. Pa. April 3, 2017)).

       For these reasons, the Miller group’s Motion to Intervene (Doc. No. 11) is DENIED.

       It is so ORDERED.

       ENTER this 23rd day of October 2018.



                                                 Aleta A. Trauger
                                                 United States District Judge




                                               -4-

    Case 3:18-cv-01035 Document 13 Filed 10/23/18 Page 4 of 4 PageID #: 445
